         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 1 of 29




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CRIMINAL NO. 21-cr-670
               v.                            :
                                             :
STEPHEN K. BANNON,                           :
                                             :
                      Defendant.             :

     UNITED STATES’ OPPOSITION TO DEFENDANT’S MOTIONS TO COMPEL

       The Defendant Stephen K. Bannon’s Motions to Compel, ECF Nos. 26 and 28, reveal a

fundamental misunderstanding of the stages of pre-trial litigation, the principles of criminal

discovery, and what will be before the jury in his criminal trial. As the Government has repeatedly

advised him, the Government has exceeded its discovery obligations and already has provided the

Defendant with all discoverable materials in its possession, custody, or control. The Defendant’s

motions should be denied.

I.     PROCEDURAL BACKGROUND

       On November 12, 2021, a federal grand jury in the District of Columbia returned an

indictment charging the Defendant with two counts of contempt of Congress, in violation of 2

U.S.C. § 192, for refusing to comply in any way with a congressional subpoena commanding the

Defendant to produce documents and appear before the U.S. House of Representatives Select

Committee to Investigate the January 6th Attack on the United States Capitol (“the Committee”).

He made his initial appearance before U.S. Magistrate Judge Robin M. Meriweather on November

15, 2021.

       Beginning on November 18, 2021—the date of his first appearance before this Court—the

Government has provided the Defendant with discovery that has met and exceeded its obligations.

This includes all testimony and exhibits presented to the grand jury in this matter; reports of all



                                                 1
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 2 of 29




witness interviews conducted during the Government’s investigation, regardless of whether the

witness will be called at trial; all documents that the Committee voluntarily produced to the

Government during the investigation; and all records obtained pursuant to grand jury subpoenas

and a court order issued pursuant to 18 U.S.C. § 2703(d). See Ex. 1 (discovery index). The

Government has produced all discoverable material of which, to date, it is aware or that is in its

possession, custody, or control, as well as material for which no discovery obligation exists.

       The Defendant’s motions to compel material that the Government does not have, or to

which he is not entitled, reflect a misunderstanding of the controlling principles of criminal

discovery, including by seeking substantial materials unrelated to any proof of guilt or innocence

at trial. Accordingly, the Government lodges this omnibus opposition, outlining the elements the

Government must prove at trial, reviewing the applicable law controlling criminal discovery, and

addressing each of the Defendant’s specific requests and explaining why they are meritless.

II.    THE CHARGES

       Under Section 192, at trial, the Government will be required to prove to the jury the

following elements: 1) that the Defendant was “summoned as a witness . . . to give testimony or

produce papers”; 2) that the subpoena was issued “by the authority of [the Select Committee] upon

[a] matter under inquiry”; 3) that the information sought was “pertinent to the question under

inquiry”; and 4) that the Defendant “willfully [made] default.” 2 U.S.C. § 192.

       In his motion, the Defendant lists several additional “elements” he claims that the

Government must prove at trial. ECF No. 28 at 3-4. Specifically, he claims the Government has

to prove beyond a reasonable doubt whether the Committee’s authority “has been conferred in

accordance with the law,” whether “Congress had the constitutional power to investigate the matter

at issue and make the specific inquiry,” and whether the Committee was following its rules. Id. at




                                                 2
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 3 of 29




4. The Defendant’s assumption that these are issues to be decided by the jury, however, is

incorrect. The scope of Congress’s and the Committee’s authority, whether under the Constitution

or some other law or rule, is a question of law, not fact. Questions of law are for the Court to

decide, not the jury at trial. United States v. Gaudin, 515 U.S. 506, 513 (1995) (noting that the

jury in a criminal case does not have the power to decide “pure questions of law”) (citing Sparf v.

United States, 156 U.S. 51, 105-106 (1895)). Indeed, the Government can find no congressional

contempt case where a jury was asked to pass on these questions. Accordingly, while the

Defendant certainly can challenge the indictment on any of these grounds, he must do so with the

Court in advance of trial. See Fed. R. Crim. P. 12(b).

III.   LEGAL STANDARDS GOVERNING CRIMINAL DISCOVERY

       Despite the Government’s full discovery, the Defendant has moved to compel production

of substantial additional materials, claiming they are subject to discovery under Federal Rule of

Criminal Procedure 16(a)(1)(E), Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States,

405 U.S. 150 (1972), the Department of Justice Manual, and Local Rule of Criminal Procedure

5.1(b). ECF No. 28 at 5-8 (“Applicable Discovery Principles”). Because the Defendant’s motions

reflect a misunderstanding of the parameters of criminal discovery, the Government reviews those

principles below.

       A.      Federal Rule of Criminal Procedure 16(a)(1)(E)

       Rule 16 does not entitle a criminal defendant to open-file discovery. United States v.

Apodaca, 287 F. Supp. 3d 21, 39 (D.D.C. 2017) (“Rule 16 does not authorize a blanket request to

see the prosecution’s file.” (quoting United States v. Maranzino, 860 F.2d 981, 985-86 (10th Cir.

1988) (internal quotation marks omitted)). Instead, under Rule 16(a)(1)(E), the government must

disclose case-related records in its “possession, custody, or control” in three circumstances: when




                                                3
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 4 of 29




the record is material to preparing the defense; when the government intends to use the record in

its case-in-chief; or when the record belongs to or was obtained from the defendant. Fed. R. Crim.

Pro. 16(a)(1)(E).

       Here, the Defendant argues the additional information he seeks is discoverable under Rule

16(a)(1)(E) because it is “material to preparing the defense.” See ECF No. 28 at 5-6 (arguing for

a broad reading of “material”). Under Rule 16, however, information is only material to the

defense if it is related to the Defendant’s “response to the Government’s case in chief.” United

States v. Armstrong, 517 U.S. 456, 462 (1996). In other words, it must relate to establishing or

rebutting proof of his guilt at trial. Information is not “material” to the defense under Rule 16 if it

relates only to some other attack on the prosecution or indictment. United States v. Rashed, 234

F.3d 1280, 1285 (D.C. Cir. 2000) (finding Rule 16 did not entitle the defendant to discovery

relating to his double jeopardy claim because the claim related “not to refutation of the

government’s case in chief but to establishment of an independent constitutional bar to the

prosecution”). Further, to the extent that the Defendant’s demands call for the Government’s

internal deliberations or work product, Rule 16 expressly bars discovery of this material under

Rule 16(a)(1)(E). See Fed. R. Crim. P. 16(a)(2) (Rule 16(a)(1)(E) “does not authorize the

discovery or inspection of reports, memoranda, or other internal government documents made by

an attorney for the government or other government agent in connection with investigating or

prosecuting the case.”); see also United States v. Safavian, 233 F.R.D. 12, 20 (D.D.C. 2005)

(“[T]he internal deliberative processes of the Department of Justice, the FBI, and the GSA-OIG

are irrelevant to the preparation of a defense.”).

       In addition, Rule 16(a)(1)(E)’s requirements apply only to information that is “within the

government’s possession, custody, or control.” The Defendant asserts that the “government”




                                                     4
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 5 of 29




includes “officials, members, employees, and staff of the U.S. House of Representatives.” ECF

No. 28 at 18. He is incorrect. Even where courts have applied the broadest definition of

“government,” they have also found “it is settled that the government generally need not produce

documents that are in the possession, custody, or control of a separate branch of government such

as Congress.” United States v. Libby, 429 F. Supp 2d 1, 7 (D.D.C. 2006) (internal citations

omitted); see also Safavian, 233 F.R.D. at 14 (“[The government] does not, however, include a

committee of the United States Senate (or the House of Representatives) because the Congress is

a separate branch of the government and was not intended by the Rules writers to be included

within Rule 16.”). Finally, information is deemed in the prosecution’s “possession, custody, or

control,” and thus subject to disclosure under Rule 16, if the government either “knows or through

due diligence could know” of the information’s existence. Safavian, 233 F.R.D. at 14-15.

       B.      Brady, Giglio, and Local Rule of Criminal Procedure 5.1(b)

       The Supreme Court’s decision in Brady requires the Government to produce to the

Defendant any information favorable to the Defendant that is “material to either guilt or

punishment.” Brady, 373 U.S. at 87. Brady material includes information relevant to the

impeachment of government trial witnesses. United States v. Bagley, 473 U.S. 667, 676 (1985)

(“Impeachment evidence . . . falls within the Brady rule.”); Giglio, 405 U.S. at 154-55. Information

is material for Brady purposes “only if there is a reasonable probability that, had the evidence been

disclosed to the defense, the result of the proceeding would have been different. A ‘reasonable

probability’ is a probability sufficient to undermine confidence in the outcome.” Bagley, 473 U.S.

at 682. Local Rule 5.1(b) articulates several categories of information subject to disclosure under

Brady. See Local Rule 5.1(a). It nowhere purports to expand the Government’s Brady obligations.

Nor could it. See generally 28 U.S.C. § 2072(b); Fed. R. Crim. P. 57(a)(1).




                                                 5
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 6 of 29




       Although the Defendant accurately reports the basic principles of Brady, he fails to

acknowledge that several of the same limits that apply to Rule 16 discovery apply to discovery

under Brady. Like Rule 16, the Government’s Brady obligations do not entitle the Defendant to

open-file discovery. Kyles v. Whitley, 514 U.S. 419, 437 (1995) (“We have never held that the

Constitution demands an open file policy.”). Instead, favorable information is only subject to

disclosure under Brady if it relates to the Defendant’s guilt or innocence at trial. Information

relevant to mounting a collateral attack or challenge to the indictment, such as those the Defendant

may wish to raise under Federal Rule of Criminal Procedure 12, is not subject to discovery under

Brady. United States v. Blackley, 986 F. Supp. 600, 603 (D.D.C. 1997) (finding Brady material is

“not material that would only support jurisdictional challenges, claims of selective prosecution, or

any other collateral attacks on the indictment, because prevailing on those claims would not prove

defendant free from fault, guilt or blame”). Second, like Rule 16, Brady does not entitle the

Defendant to the Government’s internal deliberations and evaluation of the law or facts of the case.

United States v. Naegele, 468 F. Supp. 2d 150, 155 (D.D.C. 2007) (“To the extent that defendant

seeks documents or records reflecting the internal deliberations of the Department of Justice

leading to the decision to seek an indictment, he is not entitled to them under Brady, even if some

prosecutor ‘expressed doubts’ that defendant’s conduct ‘amounts to a crime or warrants

prosecution.’”). Finally, like Rule 16, records held by the U.S. Congress are not within the

possession of the prosecution team for purposes of its Brady obligations. United States v. Trie, 21

F. Supp. 2d 7, 25 n. 17 (D.D.C. 1998) (“The Congress is not an ‘agency,’ and the DOJ has no

obligation under Brady to disclose information in the possession of Congress that is not also in the

possession of the DOJ or [another Executive Branch agency].”). Moreover, while the Government

certainly has an obligation to search for Brady material in the files of any agencies closely aligned




                                                 6
             Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 7 of 29




with the prosecution, Brady does not require the Government to go on a fishing expedition in far-

flung government files that it has no reason to believe contain exculpatory material. United States

v. Brooks, 966 F.2d 1500, 1504 (D.C. Cir. 1992) (“As the burden of the proposed examination

rises, clearly the likelihood of a pay-off must also rise before the government can be put to the

effort.”).

        C.       Department of Justice Manual

        Finally, the Defendant cites the Justice Manual (formerly titled the U.S. Attorney’s Manual

or USAM) as a source of the Government’s disclosure obligations in this case. ECF No. 28 at 7-

8 (citing Justice Manual § 9-5.001). The Government certainly takes its obligations under internal

Department policies seriously. However, those internal policies are irrelevant to the Defendant’s

motions to compel. The Justice Manual explicitly states that it “is not intended to, does not, and

may not be relied upon to create any rights, substantive or procedural, enforceable at law by any

party in any matter civil or criminal.” Justice Manual § 1-1.200.1 And the D.C. Circuit has made

clear that “we do not believe the general guidelines established by the Manual are judicially

enforceable.” United States v. Kember, 648 F.2d 1354, 1370 (D.C. Cir. 1980); see also United

States v. Williams, 827 F.3d 1134, 1152 n.7 (D.C. Cir. 2016) (finding a policy in the Manual “is

not judicially enforceable in a criminal case” (citing Kember)); United States v. Blackley, 167 F.3d

543, 549 (D.C. Cir. 1999) (“[V]iolations of Manual policies by DOJ attorneys or other federal

prosecutors afford a defendant no enforceable rights.”).




        1
         Available at https://www.justice.gov/jm/jm-1-1000-introduction#1-1.200 (last accessed
Feb. 25, 2022).


                                                 7
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 8 of 29




IV.    ARGUMENT

       The Defendant’s motions make broad, unsupported, and insufficient claims that he is

entitled to additional discovery in this case. His arguments are without merit and all of his requests

should be denied.

       A.      The Defendant’s Requests for Information that is Not Discoverable Under
               Rule 16 or Brady Should be Denied.

       In his motions, the Defendant demands several categories of information relating to the

Government’s internal deliberations and investigative steps, as well as impeachment information

for individuals that may never be trial witnesses. The information he seeks does not relate to proof

of the Defendant’s guilt or innocence at trial and, therefore, does not fall within the Government’s

Rule 16 or Brady obligations. The Defendant’s requests should be denied.

               1.      The Defendant is Not Entitled to the Government’s Analysis of
                       Whether and Under What Circumstances The Defendant and Others
                       May Be Subject to Prosecution Under 2 U.S.C. § 192.

       The Defendant moves to compel disclosure of information in the Government’s possession

“regarding the factors to be considered in determining whether to bring a civil or criminal action

or other sanction for an alleged failure to comply with a Congressional subpoena” and “regarding

the applicability of the advice of counsel defense to an alleged failure to comply with a

Congressional subpoena.” ECF No. 28 at 20-21. The Defendant elaborates by asserting that “[w]e

understand that the files at main Justice, the U.S. Attorney’s Office, and the White House all

contain documents analyzing the assertion of privilege in response to a congressional subpoena,

and determining that a prosecution of someone in Mr. Bannon’s position cannot be sustained.”

ECF No. 28 at 21. He then cites a number of internal Department of Justice records that discuss




                                                  8
           Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 9 of 29




various issues relating to subpoenas directed at Executive Branch officials. Id. at 21-22.2

       The Defendant claims this material is discoverable because it relates to his intent, an

element of the offense. See, e.g., id. at 20 (“The Government has an obligation to disclose

information that tends to negate the intent element of this offense.”).        As outlined in the

Government’s Motion in Limine to Exclude Evidence or Argument Relating to Good-Faith

Reliance on Law or Advice of Counsel, ECF No. 29, the Defendant’s erroneous reliance on the

law is not a defense and cannot rebut evidence that he deliberately ignored the subpoena’s clear

instructions. Even if it were, however, the Defendant’s requests are not for information related to

what was in his mind at the time he defaulted. Yet, that is the only information that is even

potentially relevant to the Defendant’s intent were reliance on the law a defense. See, e.g., United

States v. Libby, 475 F. Supp 2d 73, 87-88 (D.D.C. 2007) (finding that, without the defendant’s

testimony that certain issues were “in fact of concern” to him during the relevant time period,

proffered state-of-mind evidence “had no relevance to this case”); United States v. Passaro, 577

F.3d 207, 220 n.7 (4th Cir. 2009) (excluding defendant’s use of a Department of Justice document

because “the record lacks any evidence that [the defendant] read or knew of, let alone relied” on

it). Instead, the Defendant’s requests are for attorney work product or protected attorney-client

material relating to the Department of Justice’s evaluation of the law and available defenses under

Section 192. As described above, the Defendant is not entitled to this material under Rule 16 or

Brady. Supra Section III.A (citing Fed. R. Crim. P. 16(a)(2); Safavian, 233 F.R.D. at 20); Section

III.B (citing Naegele, 468 F. Supp. 2d at 155).



       2
         The Defendant makes requests for the Government’s internal deliberations at other places
in his motions as well. See, e.g., ECF No. 28 at 18 (asking for Government records “regarding
what constitutes default by a witness in response to a subpoena, and/or what does not constitute a
default by a witness in response to a subpoena”). Those requests are meritless for the same reasons
discussed here.


                                                  9
           Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 10 of 29




       In any event, the Defendant is simply wrong about what the Government’s files contain.

The Government is aware of no internal opinion or analysis that purports to excuse a private citizen

from complying with a congressional subpoena because he used to work in the Executive Branch

and a former President informed him of his belief that unidentified materials or information may

be “potentially protected” by privilege. See Ex. 2. The Defendant was not subpoenaed in his

capacity as a current or former Executive Branch official and the former President never properly

asserted a privilege over any information sought by the subpoena directed at the Defendant. His

continued assertion that he hold a similar position to any of the officials referenced in the material

he cites is completely without merit.

                2.     The Defendant’s Motion to Compel Production of the Government’s
                       Investigative Deliberations and Steps Relating to Robert Costello
                       Should be Denied.

       The Defendant moves to compel disclosure of the Government’s internal investigative

deliberations and ex parte materials submitted to the court under 18 U.S.C. § 2703(d) that relate to

toll records, email header information, and phone and email subscriber data for accounts believed

to be used by Robert Costello that were obtained during the investigation. ECF No. 26 at 17-18.

To justify his request, the Defendant claims the material is necessary to determine “the risk of

harm from the Government’s actions,” presumably in obtaining the toll and email header data, and

to “consider and seek any appropriate remedies or sanctions.” Id. at 17. Although somewhat

unclear, the Defendant appears to be claiming that the Government has violated the attorney-client

privilege, and that he needs discovery to investigate the extent of the Government’s violation. See

e.g., id. at 15-17 (reviewing caselaw governing assertions of attorney-client privilege and Robert

Costello’s claims regarding his communication practices).3 The Government, however, has never



       3
           The Defendant also suggests Department of Justice approval was required to issue


                                                 10
           Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 11 of 29




obtained any records potentially protected by attorney-client privilege and neither Rule 16 nor

Brady entitle the Defendant to go on a fishing expedition in the Government’s files in the hopes

of finding some misconduct. His requests should be denied.

       As an initial matter, the Government has never obtained, or even attempted to obtain,

privileged material, as it informed the Defendant by letter on January 7, 2022, ECF No. 26-2. He

appears to concede as much, because, despite his obligation to assert with specificity what he

believes to be privileged, he does not identify a single item of privileged information within the

records the Government has obtained. See United States v. Legal Servs. for New York City, 249

F.3d 1077, 1081–82 (D.C. Cir. 2001) (“[T]he burden of demonstrating the applicability of the

privilege lies with those asserting it. That burden requires a showing that the privilege applies to

each communication for which it is asserted.” (internal citations omitted)).

       Instead, the Defendant misleadingly suggests that the Government has obtained or tried to

obtain the content of text messages and emails between Mr. Costello and the Defendant or Mr.

Costello and others by referring generally to the records as “telephone records” and “emails.” See

ECF No. 26 at 3-4 (asserting without specificity that the Government sought “records for Mr.

Costello’s emails” and that “[t]elephone record requests included SMS (text-messaging)

information as well”). What the Defendant knows—because he has all of the data collected by the

Government4—but does not state with any clarity for the Court is that none of the information the



subpoenas for this information. ECF No. 26 at 13-14. The guidelines he cites to support this
claim, however, apply to subpoenas issued to attorneys directly, not to subpoenas directed at third-
party phone or email service providers. See Justice Manual § 9-13.410. In any event, like other
parts of the Justice Manual, the section the Defendant cites makes clear that it creates no
enforceable rights. Id. § 9-13.410(F).
       4
          The Defendant asserts that he could not provide any of the records he claims were
improperly obtained to the Court for the Court to review because the “majority of the records
provided were designated as ‘Sensitive’ by Government counsel; so they are not being attached to
this public filing . . . . The documents are too voluminous to redact.” ECF No. 26 at 1 n.1.


                                                11
        Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 12 of 29




Government obtained includes the content of any communications. Instead, the Government

obtained the following categories of data relating to email and phone accounts believed to be used

by Robert Costello, which consists of third-party business records and the type of data that would

typically appear on a privilege log:

       1) Email header information (which does not include the content or subject line of emails)
          for one of Robert Costello’s personal email accounts covering the time period
          September 22, 2021—the date the Committee first reached out to Robert Costello about
          the Defendant’s subpoena—and October 21, 2021—the date that the U.S. House of
          Representatives referred the Defendant for contempt.

       2) Toll records (which include the dates, times, sender number, and recipient number of
          phone calls and text messages, but no content of any calls or text messages) for phone
          numbers believed to be used by Mr. Costello covering the time period September 1,
          2021, to October 21, 2021.

       3) Subscriber information (which includes, names, addresses, recent login dates, recent
          login times, recent login IP addresses, payment source information, and other
          identifiers associated with the account) for phone and email accounts believed to be
          used by Mr. Costello.

With the exception of what the Defendant voluntarily provided to the Government during the

investigation in this matter, the Government has not obtained or attempted to obtain any other

records relating to any phone or email accounts held or used by Mr. Costello or any other attorneys.

       Obtaining Mr. Costello’s toll records, email header information, and subscriber

information for the time period of September through October 21, 2021, was in no way improper.

As outlined in the Government’s motion in limine regarding advice of counsel, ECF No. 29, while

any legal advice Mr. Costello provided the Defendant to refuse the subpoena is irrelevant in the

face of the subpoena’s demands, he is certainly a witness to the Defendant’s deliberate decision to




Contrary to the Defendant’s claims, only 11 pages within the materials relating to Robert
Costello’s phone and email accounts were designated “Sensitive” because they contained what
appeared to be personal identifying information as defined under Fed. R. Crim. P. 49.1. See Ex. 1
(highlighted lines).


                                                12
        Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 13 of 29




ignore the subpoena’s requirements. Mr. Costello served as the Committee’s point of contact for

the Defendant, sent letters to the Committee on the Defendant’s behalf, and communicated with

former President Trump’s attorney regarding the subpoena. As he informed the Government

during his interviews, he warned the Defendant to “beware” in not complying with the subpoena.

ECF No. 28-4 at 13.

       Further, none of the records outlined above contain information potentially protected by

the attorney-client privilege, and there is no general prohibition on obtaining non-privileged

records that relate to an attorney.     The attorney-client privilege only protects confidential

communications between a client and his attorney made for the purpose of obtaining or providing

legal advice. In re Kellogg Brown & Root, Inc., 756 F.3d 754, 757 (D.C. Cir. 2014) (citations

omitted). The privilege is construed narrowly because it “obstructs the search for truth.” United

States v. Singhal, 800 F. Supp. 2d 1, 6 (D.D.C. 2011) (citing Fisher v. United States, 425 U.S. 391,

403 (1976)). It is black-letter law, therefore, that the attorney-client privilege protects the

substance of the communication, not the mere fact that the communication occurred. See, e.g.,

United States ex rel. Barko v. Halliburton Company, 74 F. Supp. 3d 183, 189 (D.D.C. 2014)

(“[T]he mere fact of consultation with a lawyer about an issue is generally neither privileged nor

protected.”); United States v. Suggs, 531 F. Supp. 2d 13, 23 n.16 (D.D.C. 2008) (“It is the substance

of the communications which is protected . . . not the fact that there have been communications.”

(quoting United States v. Kendrick, 331 F.2d 110, 113 (4th Cir. 1964)) (internal quotation marks

omitted) (alteration in original))); In re Grand Jury Proceedings-Gordon, 722 F.2d 303, 308 (6th

Cir. 1983) (“The mere ‘fact of consultation including the component facts of . . . scope or object

of employment’ is not privileged.” (alteration in original) (citations omitted)); United States v.

Weger, 709 F.2d 1151, 1154 (7th Cir. 1983) (“[T]he privilege only ‘prohibits the disclosure of the




                                                 13
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 14 of 29




substance of communications made in confidence by a client to his attorney for the purpose of

obtaining legal advice.’” (citations omitted)); United States v. Fischel, 557 F.2d 209, 211 (9th Cir.

1977) (“The privilege does not extend, however, beyond the substance of the client’s confidential

communications to the attorney.”). In accordance with this well-established principle, courts

consistently have found that records showing only the dates and times of contacts between an

attorney and a client are not privileged because they do not reveal any confidential

communications. See, e.g., In re Grand Jury Proceedings, 689 F.2d 1351, 1352-53 (11th Cir.

1982) (finding a subpoena calling for records of dates, places, and times of meetings and

communications, not the content of those communications, did not seek information protected by

the attorney-client privilege); Colton v. United States, 306 F.2d 633, 636 (2d Cir. 1962) (finding

questions posed to an attorney regarding the “date and general nature of the legal services

performed . . . do not call for any confidential communication”); Savoy v. Richard A. Carrier

Trucking, Inc., 178 F.R.D. 346, 350 (D. Mass. 1998) (“[T]he fact of the attorney-client relationship

and the dates on which services were performed are not necessarily privileged.”).

       Because the records the Government has obtained include only the date and time of

contacts between Mr. Costello and other individuals, and not the content of any communications,

the records do not reveal any potentially privileged information. Indeed, because they contain no

content, the records do not even reveal whether any one phone call or email related to a privileged

communication in the first place. In re Motion to Compel Compliance with Subpoena Directed to

Cooke Legal Grp., PLLC, 333 F.R.D. 291, 294 (D.D.C. 2019) (“Communications from attorneys

to their clients are covered only ‘if they rest on confidential information obtained from the client.’”

(quoting In re Sealed Case, 737 F.2d 94, 99 (D.C. Cir. 1984))); Suggs, 531 F. Supp. 2d at 23 n.16

(“[C]ommunications that are not relevant to a client’s legal problem are not shielded from




                                                  14
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 15 of 29




disclosure by the attorney-client privilege.” (citation omitted)).

       The nature and steps of the investigation leading to the charges in this case are irrelevant

to the Defendant’s factual guilt or innocence at trial—i.e., whether he deliberately refused to

comply with a subpoena—and are not, therefore, discoverable under Rule 16 or Brady. Unable to

rely on these traditional avenues of criminal discovery, the Defendant must identify some authority

on which he is entitled to the information for which he moves. He identifies none. Indeed, the

Defendant concedes that he cannot even identify anything to which the material may be relevant.

See ECF No. 26 at 1 n.2 (admitting he “cannot evaluate the basis(es) for a motion seeking a

substantive remedy or sanctions unless and until” he receives the discovery). The Defendant’s

claim that the Government has intruded on the attorney-client privilege being no more than mere

speculation, a simple desire to look for misconduct is not enough to warrant discovery. His motion

for information relating to the Government’s investigative steps and decisionmaking relating to

Robert Costello must be denied. See Apodaca, 287 F. Supp. 3d at 41 (denying defendant’s request

for all Title III intercepts of the defendant and his co-conspirators where the only support for the

request was mere speculation that the government had not properly minimized).

               3.      To the Extent Giglio Material Exists in the Government’s Possession
                       Relating to Potential Trial Witnesses, the Government Has Provided It.

       The Defendant moves to compel production of “information that tends to show the bias of

any witness against him,” including statements made by various members of Congress and the

Executive Branch. ECF No. 28 at 23. He also requests records relating to various offices and

individuals’ motives within the U.S House of Representatives in referring him for criminal

contempt and records that may show member’s bias or “conflict of interest.” Id. at 23-24.

       As summarized above, the Government understands its obligations to produce

impeachment information for witnesses it may call at trial, including information tending to show



                                                 15
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 16 of 29




their bias, to the Defendant. Supra Sec. III.B (citing Bagley, 473 U.S. at 676; Giglio, 405 U.S. at

154-55). The Government has not identified its trial witnesses yet. Nevertheless, to the extent any

impeachment information may exist relating to potential trial witnesses, the Government has

produced everything of which it currently is aware, including statements made by Committee

members and staff that are in the Government’s possession. Should the Government come into

possession or become aware of additional impeachment information relating to its trial witnesses,

it will produce it as soon as practicable in advance of the July 8, 2022, deadline the Defendant

requested, ECF No. 22-1 at 2, and that the Court set, ECF No. 25 at 2, for the production of all

Brady material. The Defendant’s motion to compel production of impeachment information

should be denied as moot.

       To the extent the Defendant is instead seeking impeachment material relating to other

individuals who may be witnesses to the charged conduct, but are not government trial witnesses,

see ECF No. 28 at 18 (“The Government must inquire whether witnesses are biased . . . . This is

not limited to trial witnesses.”), his motion also must be denied.           As outlined above, the

Government’s Brady obligations, which include impeachment information, extends to favorable

information relating to guilt or innocence at trial. Supra Sec. III.B. Discoverable impeachment

information, therefore, is that which relates to the credibility of government trial witnesses, not

just any witness who may have knowledge of the charged offense. See United States v. Souffront,

338 F.3d 809, 824 (7th Cir. 2003) (finding no Brady violation where the government did not

disclose impeachment information about a defense witness because “[i]mpeaching the testimony

of their own witness is not favorable to the defense, and does not raise the probability of a different

verdict”) (citing Brady, 373 U.S. at 87; Bagley, 473 U.S. at 682); United States v. Green, 178 F.3d

1099, 1109 (10th Cir. 1999) (holding that Giglio was inapplicable to a witness the government did




                                                  16
        Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 17 of 29




not call as a witness). The Defendant also suggests that impeachment information relating to

members and staff of Congress that initiated the contempt referral must be disclosed. ECF No. 28

at 18-19 (describing individuals from whose actions he claims “this criminal case was a direct

result” as those for whom the Government must provide bias information). He is incorrect.

Congress sits in no better position than a complainant, and the circumstances in which a criminal

investigation was initiated is irrelevant to whether the Defendant actually committed the offense.

Cf. Safavian, 233 F.R.D. at 20 (“[T]he Court cannot conceive of how the reasons for the initiation

of the GSA-OIG investigation of Mr. Safavian, the possibility that the anonymous complainant is

a serial complainant who had less than honorable motivations in making the complaint . . . can be

material to any defense to the false statements of [sic] obstruction charges.”).

       B.      The Defendant’s Requests for Material Outside the Government’s Possession,
               Custody, or Control Must Be Denied.

       The Defendant seeks to compel production of voluminous materials in the possession of

the Committee, the U.S. House of Representatives, and their members, including information

regarding the establishment, membership, staffing, budget, and authority of the Committee;

information regarding the Defendant, the issuance of a subpoena to him, and his compliance; drafts

of the Committee’s official correspondence; the Committee’s internal deliberations regarding

whether the Defendant was in contempt; and information relating to members’ opinions and views

of the Defendant. ECF No. 28 at 17-18, 20-21, 23-24. The Government has already provided the

Defendant with all records it has obtained from Congress, and his motion should be denied as

moot. Even to the extent that additional materials may exist in the possession of the Committee

or the U.S. House of Representatives, they are not part of the “government” for discovery purposes.

See Supra Sec. III.A (citing Libby, 429 F. Supp 2d at 7; Safavian, 233 F.R.D. at 14); Sec. III.B

(citing Trie, 21 F. Supp. 2d at 25 n. 17). The Government cannot be required, therefore, to retrieve



                                                 17
             Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 18 of 29




from a separate branch of government any information for the Defendant, even to the extent it may

exist.

         C.       The Defendant Has Failed to Demonstrate Particularized Need for Secret
                  Grand Jury Material.

         The Defendant’s motion requests a broad range of grand jury materials and “grand jury-

related information,” including all documents and information obtained in response to a grand jury

subpoena, all documents and information presented to the grand jury, copies of all subpoenas

issued by the grand jury, and documents and information reflecting how the grand jury was

charged. ECF No. 28 at 9-10; ECF No. 26 at 17-18. As an initial matter, the Government has

already provided the Defendant all records obtained in response to grand jury subpoenas and all

witness testimony and exhibits presented to the grand jury. His requests for any information falling

within those two categories are thus moot. In addition, all but three of the Defendant’s remaining

requests seek information relating to the Government’s “consideration” of what to present to the

grand jury, not actual grand jury material. See ECF No. 28 at 9-10 (items 27-29). As outlined

above, neither Rule 16 nor Brady requires the Government to disclose its internal deliberations

and this request should be denied. Supra Sec. III.A (citing Fed. R. Crim. P. 16(a)(2); Safavian,

233 F.R.D. at 20), Sec. III.B (citing Naegele, 468 F. Supp. 2d at 155). The Defendant’s three

remaining requests for grand jury material—specifically, the grand jury charge, copies of all grand

jury subpoenas, and any information used in support of subpoenas (which the government assumes

to be a reference to subpoena attachments),5 ECF No. 28 at 9 (items 3-4, 24); ECF No. 26 at 17

(items 1-2)—also must be denied, because the Defendant has failed to meet his burden to show a




         5
         The Defendant also asks for all “investigative requests” and affidavits. Other than grand
jury subpoenas, the Government filed no affidavits in this matter and obtained only one order under
18 U.S.C. § 2703(d), which it addresses in Section IV.A.2.

                                                18
           Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 19 of 29




particularized need.

       “Federal Rule of Criminal Procedure 6(e) ‘makes quite clear that disclosure of matters

occurring before the grand jury is the exception and not the rule.’” McKeever v. Barr, 920 F.3d

842, 844 (D.C. Cir. 2019) (citation omitted). Accordingly, to pierce the secrecy of grand jury

proceedings, the Defendant must demonstrate a particularized need for the material. United States

v. Saffarinia, 424 F. Supp. 3d 46, 81 (D.D.C. 2020); Apodaca, 287 F. Supp. 3d at 47; United States

v. Wilkerson, 656 F. Supp. 2d 22, 34 (D.D.C. 2009) (“Fed. R. Crim. P. 6(e)(3)(E)(i) allows district

courts to authorize disclosure of grand jury matters “in connection with a judicial proceeding” if

the party requesting disclosure demonstrates a “particularized need” or “compelling necessity” for

the testimony.”). “[D]isclosure is appropriate only in those cases where the need for it outweighs

the public interest in secrecy, and . . . the burden of demonstrating this balance rests upon the

private party seeking disclosure.” United States v. Borda, 905 F. Supp. 2d 201, 204 (D.D.C. 2012)

(internal citation omitted).6 The Defendant does not meet his burden here.

       The Defendant makes two claims of particularized need. First, he suggests that he is

entitled to the grand jury material he seeks because the Government has already sought and

received permission from this Court to provide transcripts of grand jury testimony and related

exhibits to him. ECF No. 28 at 10-11; see also ECF No. 9 (Government’s motion to disclose grand

jury testimony and related exhibits pursuant to Rule 6(e)(3)(E)(i)). In his view, “[t]here is no

legitimate basis for the Government to be able to choose what material occurring before the grand



       6
          Citing an out-of-circuit, unreported opinion, the Defendant suggests the particularized
need standard does not apply to the grand jury charge. See ECF No. 28 at 16 (citing United States
v. Belton, 2015 WL 1815273 (N.D. Cal. Apr. 21, 2015)). The unreported case’s holding, however,
runs contrary to longstanding precedent in this District. See, e.g., United States v. Singhal, 876 F.
Supp. 2d 82, 99 (D.D.C. 2012) (refusing to require production of grand jury charge where
defendants had not established particularized need); Espy, 23 F. Supp. 2d 1, 10 (D.D.C. 1998)
(same).


                                                 19
        Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 20 of 29




jury should be kept secret.” ECF No. 28 at 11. The Government is not the keeper of the keys for

grand jury material, however, and the Defendant cites no authority for his extraordinary position

that, just because one item of grand jury material can be disclosed under the Rules, another must

be as well. Federal Rule of Criminal Procedure 6(e) controls grand jury secrecy requirements and

the law is clear that, absent showing a particularized need, grand jury material is not discoverable.

The fact that the Government sought permission to provide transcripts of grand jury testimony to

comply with its potential obligations under the Jencks Act or Giglio does not change that standard

with respect to other grand jury material.

       Second, the Defendant claims that he is entitled to the material under Rule 6(e)(3)(E)(ii)

because grounds “may exist to dismiss the indictment because of a matter that occurred before the

grand jury”). ECF No. 28 at 11 (emphasis in original). The Defendant, however, fails to make

any showing to support this conclusory claim, as he must to be entitled to the material. Saffarinia,

424 F. Supp. 3d at 81. To show that a ground may exist for dismissing the indictment because of

an issue relating to the grand jury, the Defendant must meet a high bar. “Grand jury proceedings

are ‘accorded a presumption of regularity, which generally may be dispelled only upon

particularized proof of irregularities in the grand jury process.’” Borda, 905 F. Supp. 2d at 204

(quoting United States v. Mechanik, 475 U.S. 66, 75 (1986) (O’Connor, J., concurring)). “An

indictment valid on its face may not be challenged on the ground that the grand jury acted on the

basis of inadequate, unreliable or incompetent evidence.” Id. (citing Bank of Nova Scotia v. United

States, 487 U.S. 250, 261 (1988)). The standard for dismissal of an indictment for an error in the

grand jury proceeding “is so high that dismissal of an otherwise valid indictment is inappropriate

even where the government failed to disclose substantial exculpatory evidence it possessed at the

time of the grand jury.” Id. (internal citation omitted). Accordingly, “conclusory or speculative




                                                 20
        Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 21 of 29




allegations of misconduct do not meet the particularized need standard; a factual basis is required.”

Naegele, 474 F. Supp. 2d at 10.

       The Defendant claims four errors that occurred before the grand jury to support his

particularized need showing under Rule 6(e)(3)(ii): first, that grand jury subpoenas were used to

obtain records relating to Robert Costello, ECF No. 28 at 11, ECF No. 26; second, that the

Government did not provide the grand jury with an October 18, 2021, letter from the Defendant to

the Committee, ECF No. 28 at 12-14; third, that the Government provided the grand jury with

evidence relating to a letter the Committee sent the Defendant informing him that former President

Trump had never asserted executive privilege to the Committee over the information sought by

the subpoena, id. at 15-16; and fourth, that the Government “may not have accurately instructed

the grand jury” on the law regarding the Defendant’s advice of counsel defense, id. at 15, 16.

       With respect to the first three supposed errors—grand jury subpoenas issued for records

relating to Mr. Costello and the letters presented and not presented to the grand jury—the

Defendant does not identify how, even if they constitute errors, any of them would support a

motion to dismiss. As described above, this is fatal to the Defendant’s claim of particularized

need. Saffarinia, 424 F. Supp. 3d at 81.

       Moreover, none of the four items the Defendant identifies constitute error in the first place.

First, grand jury subpoenas for records relating to Robert Costello, a fact witness to the

Defendant’s deliberate default, did not constitute error. See United States v. R. Enterprises, Inc.,

498 U.S. 292, 297 (1991) (“As a necessary consequence of its investigatory function, the grand

jury paints with a broad brush. . . . A grand jury investigation is not fully carried out until every

available clue has been run down and all witnesses examined in every proper way to find if a crime

has been committed.” (internal citations and quotation marks omitted)). As described above in




                                                 21
           Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 22 of 29




Section IV.A.2, no information potentially protected by the attorney-client privilege was obtained

with grand jury subpoenas and there is no per se bar to obtaining records relating to attorneys.

       Second, not showing the October 18, 2021, letter to the grand jury was not error. The

Government is providing the letter to the Court with this opposition. Ex. 3. As the Defendant

summarizes in his motion, ECF No. 28 at 13, in the letter, the Defendant’s attorney wrote to the

Committee requesting a “one-week adjournment” before responding further to the Committee.

The Defendant does not, however, acknowledge that the letter was sent after the Defendant already

was in default, Indictment, ECF No. 1, ¶¶ 15, 19, and after the Committee informed him as such

by an October 15, 2021, letter, in which it also told him that the Committee would be meeting on

October 19, 2021, to consider “initiating contempt,” id. ¶ 20. The letter thus has no relevance to

whether the Defendant willfully defaulted. The Defendant nevertheless claims that the letter was

exculpatory and that the Government’s error exists in not presenting it to the grand jury. ECF No.

28 at 13-14.7 Even if the letter was exculpatory—and it is the Government’s practice to present

true, material exculpatory information to the grand jury—the law does not require the Government

to present exculpatory evidence to the grand jury. United States v. Williams, 504 U.S. 36, 52-53

(1992). There was no error.

       Third, the Defendant claims it was error to present to the grand jury a letter from the

Committee to the Defendant in which it informed the Defendant that former President Trump had

not notified the Committee of any assertions of privilege. ECF No. 28 at 15. It was not. The

Government provides the grand jury exhibit here. Ex. 4. The letter is inculpatory evidence that,

despite being repeatedly told what he was required to do in response to the subpoena, the



       7
         The Defendant also claims that the testifying witness in the grand jury was asked directly
about the Defendant’s request for an adjournment, ECF No. 28 at 14, but the Government does not
know to what testimony the Defendant is referring.

                                                22
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 23 of 29




Defendant ignored those instructions. See id. The Government also presented evidence regarding

the factual assertion in the letter as to whether former President Trump asserted privilege to the

Committee. ECF No. 28, Ex. 6 at 44:8-12. The Government is aware of no authority barring the

Government from presenting inculpatory evidence and evidence regarding the veracity of a

witness’s statement to the grand jury. According to the Defendant, the letter and information is

proof that the Government “misled” the grand jury about the law on executive privilege. Id. at 15.

How and under what circumstances a former President can properly invoke executive privilege is

irrelevant, however, to the elements of the charged offenses. See supra Sec. II. And the Defendant

does not explain how an assertion by a witness and the Government’s investigation of that factual

assertion indicates error in the instructions the grand jury was provided on the actual elements of

the offense. A conclusory claim that it does so is insufficient.

       Fourth, the Defendant speculates that the Government “may” not have advised the grand

jury properly with respect to an advice of counsel defense because the Government has taken the

position pre-trial that it is not a defense. ECF No. 28 at 15-16. Setting aside the fact that an advice

of counsel defense is not available to the Defendant in this case for the reasons articulated in the

Government’s motion in limine, ECF No. 29, even if it were, the Government was not required to

affirmatively instruct the grand jury on specific defenses the Defendant may raise (of which he has

identified many), see United States v. North, 708 F. Supp. 370, 371-72 (D.D.C. 1988) (“[T]here is

no requirement that the grand jury be instructed on every aspect of the law. . . . Never have

prosecutors had to present all possible legal defenses to a grand jury.”). The Defendant cites

United States v. Stevens, 771 F. Supp. 2d 556, 567 (D. Md. 2011) to argue otherwise, ECF No. 28

at 16, but the case does not assist him. The court in Stevens never held that the government was

required to instruct on an advice of counsel defense; indeed, it acknowledged that it was not.




                                                  23
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 24 of 29




Stevens, 771 F. Supp. 2d at 566-67. Instead, the Stevens court found that, where the Government

does instruct on the law governing a potential defense, if it does so incorrectly, it may be grounds

for dismissing the indictment. Id. The Defendant has not identified anything in the indictment or

otherwise indicating that the Government incorrectly instructed the grand jury on the elements of

the charged offenses. In the face of a valid indictment, the Defendant’s mere conjecture about the

grand jury charge does not amount to particularized need. See Trie, 23 F. Supp. 2d 55, 62 (D.D.C.

1998) (“[M]ere suspicion that the grand jury may not have been properly instructed . . . is

insufficient to establish that [the defendant] is entitled either to dismissal of the indictment or to

disclosure of grand jury materials.”).

       The Defendant has failed to meet his burden to show he is entitled to copies of grand jury

subpoenas and the grand jury charge and his request for these materials must be denied.

       D.      The Defendant Has Failed to Meet His Burden to Establish He is Entitled to
               Discovery Relating to a Selective Prosecution Claim.

       The Defendant moves to compel various categories of material “that tends to show that this

prosecution was initiated or pursued because of political considerations.” ECF No. 28 at 23-24.

Although he does not identify it clearly, the Defendant’s request appears to be one for discovery

to support a claim of selective prosecution.

       A selective prosecution claim is a collateral attack on an indictment unrelated to the

Defendant’s factual guilt or innocence. Discovery related to that claim is not, therefore, authorized

by Rule 16 or Brady. Instead, to be entitled to discovery relating to a selective prosecution claim,

the Defendant must offer “some evidence tending to show the existence of the essential elements

of the defense,” Armstrong, 517 U.S. at 468 (citation omitted), that is, “some evidence of both

discriminatory effect and discriminatory intent,” United States v. Bass, 536 U.S. 862, 863 (2002).

The showing the Defendant must make is a “rigorous” one, Armstrong, 517 U.S. at 468, and “a



                                                 24
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 25 of 29




defendant must provide something more than mere speculation or ‘personal conclusions based on

anecdotal evidence,’” United States v. Stone, 394 F. Supp. 3d 1, 31 (D.D.C. 2019) (quoting

Armstrong, 517 U.S. at 470). Moreover, if the Defendant fails to show either prong, he is not

entitled to discovery. See United States v. Blackley, 986 F. Supp. 616, 618 (D.D.C. 1997) (citing

Attorney General of U.S. v. Irish People, Inc., 684 F.2d 928, 947 (D.C. Cir. 1982)). The Defendant

fails to make a showing of either element here and his motion to compel discovery relating to the

Government’s internal deliberations to support a selective prosecution claim should be denied.

       First, the Defendant fails to show discriminatory effect. To show discriminatory effect, the

Defendant must show some evidence “that the Government afforded ‘different treatment’ to

persons ‘similarly situated’ to him.” United States v. Judd, -- F. Supp. 3d --, 2021 WL 6134590,

at *2 (D.D.C. 2021) (quoting Armstrong, 517 U.S. at 470). “A similarly situated offender is one

outside the protected class who has committed roughly the same crime under roughly the same

circumstances but against whom the law has not been enforced.” United States v. Khanu, 664 F.

Supp. 2d 28, 32 (D.D.C. 2009) (quoting United States v. Lewis, 517 F.3d 20, 27 (1st Cir. 2008))

(internal quotation marks omitted). The Defendant does not identify even a single person or group

that is similarly situated to him. Having failed to do this, he cannot meet the first prong of the test.

See Blackley, 986 F. Supp. at 619-20 (finding the defendant failed to show discriminatory effect

where he “has not adequately demonstrated that there exists a group of unindicted persons

similarly situated to him such that he can claim that he was ‘singled out’ from that group for

prosecution”); Irish People, 684 F.2d at 946 (“If . . . there was no one to whom defendant could

be compared in order to resolve the question of selection, then it follows that defendant has failed

to make out one of the elements of its case.”). Because he has failed to show discriminatory effect,

the Defendant’s motion to compel discovery relating to selective prosecution should be dismissed




                                                  25
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 26 of 29




without further analysis.

        In any event, the Defendant also has failed to show discriminatory intent. To do so, he

must demonstrate that “the selection was deliberately based upon an unjustifiable standard such as

race, religion, or other arbitrary classification, or was designed to prevent or paralyze his exercise

of constitutional rights.” United States v. Mangieri, 694 F.2d 1270, 1273 (D.C. Cir. 1982) (internal

citations and quotation marks omitted); see also Wayte v. United States, 470 U.S. 598, 610, (1985)

(noting that discriminatory purpose “implies that the decisionmaker . . . selected or reaffirmed a

particular course of action at least in part ‘because of,’ not merely ‘in spite of,’ its adverse effects

upon an identifiable group” (citations and internal quotation marks omitted) (alteration in

original)).

        As evidence of his selective prosecution claim, the Defendant relies almost entirely on

statements of members of Congress. ECF No. 28 at 24-25. Members of Congress are not part of

the prosecution team and certainly have no role in the Department of Justice’s prosecutorial

decisionmaking. Their statements, even to the extent they might comment on members’ views of

the Defendant’s criminal exposure (although it does not appear many of the statements the

Defendant cites contain such commentary), provide no evidence of the prosecutors’ intent.

        The remaining evidence the Defendant cites also fails to establish discriminatory intent.

First, he cites a statement by President Biden that those who refuse to comply with the Committee’s

subpoenas should be prosecuted. Id. at 25 (citing Wang, Biden says Justice Department should

prosecute those who refuse Jan. 6 Committee subpoenas, THE WASH. POST, Oct. 15, 2021). But

President Biden has nothing to do with the Department’s prosecutorial decisionmaking. The very

article the Defendant cites acknowledges this. The President’s views, therefore, tell nothing of the

decision to prosecute in the Defendant’s case. In any event, the President’s statement does not




                                                  26
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 27 of 29




even indicate a distinction between the Defendant and any other individuals on the basis of a

protected class or exercise of a right.

       Second, the Defendant points to the fact that the Attorney General made a public statement

about the Defendant’s indictment. Id. at 26 (citing Press Release, U.S. Dep’t of Justice, Stephen

K. Bannon Indicted for Contempt of Congress, Nov. 12, 2021). Specifically, the Attorney General

stated that the indictment reflected the Department’s “steadfast commitment” to “adher[ing] to the

rule of law, follow[ing] the facts and the law and pursu[ing] equal justice under the law.” The

content of the Attorney General’s statement does not include any reference indicative of improper

motive—indeed it appears to establish the opposite. Moreover, the Defendant does not explain

how the Attorney General’s mere decision to comment, by itself, establishes one.

       Third, the Defendant asserts that the Government did not follow its policies by bringing

the instant prosecution. ECF No. 28 at 25. The Defendant does not cite the sources of the specific

“policies” he claims were violated, but, based on his claims elsewhere in his motion, the

Government assumes he is referencing Office of Legal Counsel (“OLC”) opinions relating to the

prosecution of Executive Branch officials for refusing to comply with congressional subpoenas at

a president’s direction. OLC opinions are not policies that create rights or remedies for the

Defendant, they are legal advice provided to the Department of Justice.           See Citizens for

Responsibility and Ethics in Washington v. U.S. Dep’t of Justice, 298 F. Supp. 3d 151, 155-56

(D.D.C. 2018) (collecting cases). Even if they were policies, however, the Defendant does not

explain how following them or not following them reflects discriminatory intent. Policies might

be followed or not followed for any number of reasons. In any event, the OLC opinions governing

Executive Branch officials subpoenaed by Congress are irrelevant. The Defendant was not

subpoenaed in relation to his time as an Executive Branch official to testify about his work in that




                                                27
         Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 28 of 29




capacity. His continued assertions that he somehow sits in a position similar to those who are

subpoenaed in their capacity as Executive Branch officials is without merit.

       Finally, the Defendant cites the fact that, to date, no other witness subpoenaed by the

Committee has been prosecuted. But this fact alone tells the Court nothing of the Government’s

intent in the absence of similarly situated individuals. Cf. Branch Ministries v. Rossotti, 40 F.

Supp. 2d 15, 23 (D.D.C. 1999) (“[I]t is not sufficient for plaintiffs to assert that the lack of any

other revocations must mean that the IRS had a discriminatory intent where, as here, plaintiffs

have failed to provide any evidence that there are any similarly situated churches that retained their

Section 501(c)(3) status.”).

       At bottom, the Defendant’s claim of discriminatory intent, to the extent his pleading can

be read to have made one, is based on speculation and conclusory assertions. “If one seeks

permission to embark on discovery related to selective prosecution, it is not enough to simply state

that the prosecutor was biased. Defendant must show that in his case, the decisionmaker acted

with a discriminatory purpose.” Stone, 394 F. Supp. 3d at 36 (emphasis in original). Having

provided no evidence of discriminatory intent on the part of the decisionmakers here, the

Defendant has failed to make the requisite showing and his motion to compel discovery must be

denied on this ground as well.




                                                 28
            Case 1:21-cr-00670-CJN Document 31 Filed 02/25/22 Page 29 of 29




V.      CONCLUSION

        The Defendant’s discovery requests are based on speculative claims of misconduct,

unsupported assertions of entitlement, and erroneous interpretations of law. The Government has

met and exceeded its discovery obligations under Rule 16, Brady, and Giglio. The Defendant has

failed to establish that he is entitled to more. His motions to compel should be denied in their

entirety.

                                            Respectfully submitted,

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                                              29
